           Case
 Fill in this       25-51509-pwb
              information                    Doc 1
                          to identify the case:            Filed 02/12/25 Entered 02/12/25 15:56:50                              Desc Main
                                                           Document     Page 1 of 16
     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Georgia (State)

                                                                      11
     Case number (If known): _________________________ Chapter ______
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        CoLiant   Solutions, Inc.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               2703 Brickton North Drive                                _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Buford                      GA      30518
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Gwinnett County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.coliantsolutions.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 25-51509-pwb             Doc 1         Filed 02/12/25 Entered 02/12/25 15:56:50                               Desc Main
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                CoLiant Solutions, Inc.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            238210
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
       A debtor who is a “small business
       debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
       box. A debtor as defined in                            debtor is a small business debtor, attach the most recent balance sheet, statement
       § 1182(1) who elects to proceed                        of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       under subchapter V of chapter 11
       (whether or not the debtor is a                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
       “small business debtor”) must                          chooses to proceed under Subchapter V of Chapter 11.
       check the second sub-box.
                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.
                                          Chapter 12


9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
         Case 25-51509-pwb                     Doc 1      Filed 02/12/25 Entered 02/12/25 15:56:50                               Desc Main
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               CoLiant Solutions, Inc.
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199
                                           ✔
                                                                             10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
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             CoLiant Solutions, Inc.
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million
                                                                                 ✔
                                                                                                                        $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            02/12/2025
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Kenneth C. Stallings
                                             _____________________________________________               Kenneth C. Stallings
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    President
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ William Rountree
                                             _____________________________________________              Date         02/12/2025
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              William Rountree
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Rountree, Leitman, Klein & Geer, LLC
                                             _________________________________________________________________________________________________
                                             Firm name
                                              2987 Clairmont Road Suite 350
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Atlanta
                                             ____________________________________________________             GA            30329
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              404-584-1238
                                             ____________________________________                              wrountree@rlkglaw.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              616503                                                          GA
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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               CoLiant Solutions, Inc.
                                                         Document     Page 5 of 16
 Debtor                                                              _                  Case number (if known)
              First Name      Middle Name    Last Name



                                                 Continuation Sheet for Official Form 201


4) Debtor's Addresses

Business                                                       100 SE Executive Drive Ste. 4
                                                               Bentonville, AR 72712, Benton County

Business                                                       2344 Pleasant Run Springfield, IL
                                                               62711, Sangamon County

Business                                                       3650 Winchester Road Springfield, IL
                                                               62707, Sangamon County

Business                                                       4120 Bangs Avenue Modesto, CA 95356,
                                                               Stanislaus County




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy
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      Fill in this information to identify the case:

                    CoLiant Solutions, Inc.
      Debtor name __________________________________________________________________

                                              Northern District of Georgia
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                       Check if this is an
      Case number (If known):   _________________________                                                                                  amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,       Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of          (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact              debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                           professional        unliquidated, total claim amount and deduction for value of
                                                                           services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff
     Eunitel, Inc.                                                       Suppliers or Vendors
1    6211 N. Monticello Ave
                                                                                                                                                    910,312.55
     Chicago, IL, 60659


     Avigilon USA Corporation                                            Suppliers or Vendors
2    Dept 3229
                                                                                                                                                    514,413.02
     Dallas, TX, 75312-3229

     Cabling Solutions, LLC                                              Suppliers or Vendors
3    7890 Boothill Drive
                                                                                                                                                    460,798.50
     Park City, UT, 84098


     Quality Touch Cabling                                               Suppliers or Vendors
4    1170 Celebration Blvd. Suite100
                                                                                                                                                    352,347.75
     Celebration, FL, 34747


     United Rentals - WM                                                 Suppliers or Vendors
5    National Credit Office
     P.O. Box 100711                                                                                                                                276,423.91
     Atlanta, GA, 30384-0711

     Fehring Ornamental Ironworks                                        Suppliers or Vendors
6    10685 E State Route 29
                                                                                                                                                    211,993.66
     Rochester, IL, 62563


     Master DataComm, Inc                                                Suppliers or Vendors
7    8026 Carolyn Ln
                                                                                                                                                    146,400.00
     Morris, AL, 35116

     Star Protection Agency California                                   Suppliers or Vendors
8    7901 Oakport St.
                                                                                                                                                    143,703.75
     Oakland, CA, 94621-2022




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
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                       CoLiant Solutions, Inc.
    Debtor            _______________________________________________________                    Case number (if known)_____________________________________
                      Name




     Name of creditor and complete            Name, telephone number,       Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code      and email address of          (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                              creditor contact              debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                            professional        unliquidated, total claim amount and deduction for value of
                                                                            services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                 Total claim, if   Deduction for      Unsecured
                                                                                                                 partially         value of           claim
                                                                                                                 secured           collateral or
                                                                                                                                   setoff
     Overwatch                                                            Suppliers or Vendors
9    2477 Valleydale Rd, Ste A-2
                                                                                                                                                     129,994.22
     Birmingham, AL, 35244

     United Rentals, Inc.                                                 Suppliers or Vendors
10 National Credit Office
                                                                                                                                                     119,400.09
     Atlanta, GA, 30384-0711


     Virginia Electronic Components                                       Suppliers or Vendors
11 1155 5th St SW
                                                                                                                                                     109,290.08
     Charlottesville, VA, 22902

     LHI, LLC                                                             Suppliers or Vendors
12 327 Sandymead Road
                                                                                                                                                     108,004.56
     Matthews, NC, 28105


     H&E Equipment Services                                               Suppliers or Vendors
13 PO Box 849850
                                                                                                                                                     102,435.00
     Dallas, TX, 75284-9850

     Power-Comm Technologies                                              Suppliers or Vendors
14 P.O. Box 1078
                                                                                                                                                     88,600.00
     Highland, CA, 92346

     Batteries Plus                                                       Suppliers or Vendors
15 Lockbox BPB National Accounts 29305
     Network Place
                                                                                                                                                     88,309.20
     29305 Network Place
     Chicago, IL, 60673-1293
     Spartan Communications                                               Suppliers or Vendors
16 108 Alberta Lane
                                                                                                                                                     71,428.14
     Winder, GA, 30680

     Spartan 7 Securities                                                 Suppliers or Vendors
17 P.O. Box 11920
     Conway, AR, 72034                                                                                                                               70,742.00


     SignalNet Communications, Inc.                                       Suppliers or Vendors
18 205 Windco Circle
                                                                                                                                                     67,754.68
     Wylie, TX, 75098

     Firmament Solutions                                                  Suppliers or Vendors
19 510 Plaza Drive
     Atlanta, GA, 30349                                                                                                                              64,000.00


     BRH Communications                                                   Suppliers or Vendors
20 11879 Creek Trail
                                                                                                                                                     63,678.31
     Sylmar, CA, 91342




    Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 2
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3WMOTUS LLC                                            B2B Alarms
20646 Sunset Alps Dr                                   9605 US HWY 90 W. #154
New Caney, TX 77357                                    San Antonio, TX 78245


Acre Security Americas                                 Bartons Network LLC
3700 E. Plano Pkwy                                     26 Brill Street
Building A, Suite 100                                  Newark, NJ 07105
Plano, TX 75074

                                                       Batteries Plus
ADI                                                    Lockbox BPB National Accounts 29305 Network Place
25429 Network Place                                    29305 Network Place
Chicago, IL 60673-1254                                 Chicago, IL 60673-1293


Advance Financial Corporation                          BCA Aviation, Inc.
3700 Mansell Road, Ste. 350                            2703 Brickton North Drive
Alpharetta, GA 30022                                   Buford, GA 30518


Advanced Cable Net Solutions                           Benchmark Group, Inc.
9104 Industry Drive                                    PO Box 1212
Manassas Park, VA 20111                                Lowell, AZ 72745


Alabama Department of Revenue                          Best Tech Cabling & Installation
Business Privilege Tax Section                         4222 W. Union St.
PO Box 327320                                          Tampa, FL 33607
Montgomery, AL 36132-7320

                                                       Boldtronics Inc.
Alaska Department of Revenue                           655 Post Road
P.O. Box 110400                                        Madison, WI 53713
Juneau, AK 99811-0400

                                                       BRH Communications
Amazon Capital Services                                11879 Creek Trail
PO Box 035184                                          Sylmar, CA 91342
Seattle, WA 98124

                                                       Cabling Solutions, LLC
Another Helper                                         7890 Boothill Drive
97 Country Road 1471                                   Park City, UT 84098
Cullman, AL 35055

                                                       California Department of Tax and Fee Administration
Arizona Department of Revenue                          P.O. Box 942879
PO Box 29010                                           Sacramento, CA 94279
Phoenix, AZ 85038-9010

                                                       California State Board of Equalization
Arkansas Department of Revenue                         State Board of Equalization
1900 W 7th Street                                      P.O. Box 942879
Rm 2062                                                Sacramento, CA 94279
Little Rock, AR 72201

                                                       Chief Facility Defense (CFD)
Avigilon USA Corporation                               4330 South Lee St
Dept 3229                                              Buford, GA 30518
Dallas, TX 75312-3229
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Cleeton Sanitation Service                           ConvergeOne, Inc
90 Harold                                            NW 5806
PO Box 50                                            Minneapolis, MN 55485-5806
Tovey, IL 62570

                                                     Crescent Electric
CMS                                                  PO BOX 500 ,
PO Box 871874                                        EAST DUBUQUE, IL 61025-4418
Kansas City, MO 64187-1874

                                                     CSC - Corporation Service Company - CSC
CoLiant International, LLC                           P.O. Box 7410023
2703 Brickton North Drive                            Chicago, IL 60674-5023
Buford, GA 30518

                                                     Cybernautic
CoLiant Properties                                   2404 E. Empire
2703 Brickton North Drve                             Bloomington, IL 61704
Buford, GA 30518

                                                     Delaware Department of Finance - Division of Revenue
CoLiant Properties, LLC                              Carvel State Office Building
2730 Brickton North Drive                            820 North French Street
Buford, GA 30518                                     Wilmington, DE 19801


CoLiant Systems, LLC                                 District of Columbia Office of Tax and Revenue
2703 Brickton North Drive                            1101 4th Street, SW
Buford, GA 30518                                     Suite 270 West
                                                     Washington, DC 20024

Colorado Department of Revenue
1375 Sherman St.                                     DLL Finance LLC
Denver, CO 80261                                     PO Box 2000
                                                     Johnston, IA 50131

Comptroller of Maryland
80 Calvert Street                                    DLL Finance LLC 101-0521832-000
PO Box 466                                           PO Box 77122
Annapolis, MD 21404-0466                             Minneapolis, MN 55480-7702


Connecticut Department of Revenue Services           Emburse Inc.
25 Sigourney St., Ste 2                              P. O. Box 780965
Hartford, CT 06106-5032                              Philadelphia, PA 19178-0965


Contessa Leigh Stallings                             Enterprise Holdings Inc
1120 Sailview Drive                                  PO Box 402383
Buckhead, GA 30625                                   Atlanta, GA 30384-2383


ControlByWeb, LLC                                    Eunitel, Inc.
1681 West 2960 South                                 6211 N. Monticello Ave
Nibley, UT 84321                                     Chicago, IL 60659


Converged Systems & Solutions                        F.D. Hayes Electric
Bridgetown Barbados, WI B111113                      2301 Beal Ave.
                                                     Lansing, MI 48910
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Fast Signs                                               Graybar
2112 S MacArthur Blvd                                    PO Box 403052
Suite A                                                  Atlanta, GA 30384-3052
Springfield, IL 62704

                                                         H&E Equipment Services
FedEx                                                    PO Box 849850
P. O. Box 660481                                         Dallas, TX 75284-9850
Dallas, TX 75266-0481

                                                         Hawaii Department of Taxation
Fehring Ornamental Ironworks                             P.O. Box 259
10685 E State Route 29                                   Honolulu, HI 96809-0259
Rochester, IL 62563

                                                         Home Depot Rental
Firmament Solutions                                      PO Box 789
510 Plaza Drive                                          Fort Mill, SC 29716
Atlanta, GA 30349

                                                         HOTEL ENGINE
Florida Department of Revenue                            720 S Colorado Blvd
5050 West Tennessee Street                               Denver, CO 80246
Tallahassee, FL 32399-0100

                                                         Hunt & Taylor Law Group, LLC
Fredmar, LLC                                             1001 Riverside Dr, Ste A
12811 W Desert Cove Rd.                                  Gainesville, GA 30501
El Mirage, AZ 85335

                                                         Idaho State Tax Commission
Geneva Capital, LLC                                      PO Box 36
1311 Broadway Street                                     Boise, ID 83777-0410
Alexandria, MN 56308

                                                         IES Commercial Inc.
Georgia Department of Labor                              1010 Bowen Parkway
148 Andrew Young Inter. Blvd                             Suffolk, VA 23435
Room 738
Atlanta, GA 30303-0000
                                                         Illinois Department of Revenue
                                                         100 West Randolph Street
Georgia Department of Revenue                            Chicago, IL 60601-3274
Compliance Division, ARCS - Bankruptcy
1800 Century Blvd NE, Suite 9100
Atlanta, GA 30345                                        Indiana Department of Revenue
                                                         100 N. Senate Avenue
                                                         Indianapolis, IN 46204
Georgia Department of Revenue Bankruptcy
2595 Century Parkway NE
Ste. 339                                                 Install Subs LLC
Atlanta, GA 30345                                        7639 Southeastern
                                                         Indianapolis, KS 46239

Global Executive Group
3480 Peachtree Rd NE                                     Internal Revenue Service
Atlanta, GA 30518                                        CIO
                                                         P.O. Box 7346
                                                         Philadelphia, PA 19101-7346
Grainger
Dept 863590063
Palatine, IL 60038-0001
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Iowa Department of Revenue                                Maine Revenue Services
Hoover State Office Building                              51 Commerce Drive
1305 E. Walnut                                            Augusta, ME 04330
Des Moines, IA 50319

                                                          Maple Systems Inc.
Jason Hogan Designs                                       808 134th Street SW
1987 Hwy 254                                              Everett, WA 98204
Cleveland, GA 30528

                                                          March Networks Inc
JCV Communications                                        PO Box 66512
4563 Technology Dr.                                       Chicago, IL 60666
Suite 7
Wilmington, NC 28405
                                                          MASCO PACKAGING & INDUSTRIAL SUPPLY
                                                          290 North Street
Jones Eng Group LLC                                       Springfield, IL 62704
8013 Brookstone CT
Severn, MD 21144
                                                          Massachusetts Department of Revenue
                                                          100 Cambridge Street
Kansas Department of Revenue                              Boston, MA 02114
Docking State Office Building, Room 150
915 SW Harrison St.
Topeka, KS 66612                                          Master DataComm, Inc
                                                          8026 Carolyn Ln
                                                          Morris, AL 35116
Kenneth Carl Stallings
1120 Sailview Drive
Buford, GA 30625                                          MCS General Construction
                                                          6523 Pool Hill Road
                                                          Fulshear, TX 77441
Kentucky Department of Revenue
600 West Cedar Street, 2nd Floor West
Louisville, KY 40202                                      MecoClub
                                                          908 S Kickapoo St
                                                          Lincoln, IL 62656
Keyence Corporation of America
500 Park Boulevard
Itasca, IL 60143                                          Medallion Transport & Logistics, LLC
                                                          701 East Gate Drive Ste 110
                                                          Mt Laurel, NJ 08054
Krista Ann Jackson
15 Knollcrest Lane
Chatham, IL 62629                                         Michael Kern
                                                          17212 S Pawnee Road
                                                          Pawnee, IL 62558
LHI, LLC
327 Sandymead Road
Matthews, NC 28105                                        Michigan Department of Treasury
                                                          430 W. Allegan Street
                                                          Lansing, MI 48922
Los Angeles Detection Systems
145 Glenoaks Blvd, Suite 15
Burbank, CA 91502                                         Miles T-Shirts
                                                          306 W North St
                                                          Spingfield, IL 62704
Louisiana Department of Revenue
617 North Third Street
P.O. Box 201
Baton Rouge, LA 70821
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Mimecast North America, Inc.                           New Hampshire Department of Revenue Administration
Mimecast North America Inc                             109 Pleasant St.
Detroit, MI 48277-2609                                 Concord, NH 03301


Minnesota Department of Revenue                        New Horizon Communications
600 North Robert St.                                   200 Baker Ave
St. Paul, MN 55101                                     Concord, MA 01742-2112


Mississippi Department of Revenue                      New Jersey Department of the Treasury
P.O. Box 23192                                         Corporate Filings Unit
Jackson, MS 39225-3192                                 33 West State Street, 5th Floor
                                                       Trenton, NJ 08608

Missouri Department of Revenue
Harry S Truman State Office Building                   New Jersey Department of the Treasury - Division of
301 West High Street                                   Taxation
Jefferson City, MO 65101                               50 Barrack Street
                                                       1st Floor Lobby
                                                       Trenton, NJ 08695
Mobile Mini, Inc.
P.O. Box 650882
Dallas, TX 75265-0882                                  New Mexico Taxation and Revenue Dept
                                                       1100 S. St. Francis Drive
                                                       PO Box 630
Mobile Modular Portable Storage                        Santa Fe, NM 87504-6030
P.O. Box 45043
San Francisco, CA 94145-5043
                                                       New York State Department of Taxation and Finance
                                                       1 Commerce Plaza
Montana Department of Revenue                          99 Washington Ave. Suite 600
Sam W. Mitchell Bldg.                                  Albany, NY 12231
125 N. Roberts, 3rd Floor
Helena, MT 59601
                                                       Newtek Small Business Finance LLC
                                                       1981 Marcus Avenue
Morningstar                                            Ste. 130
8 Pheasant Run                                         New Hyde Park, NY 11042
Newtown, PA 18940

                                                       NinjaRMM, LLC
Mutual of Omaha G000B8FT                               26750 US Highway 19 North
Payment Processing Center                              Clearwater, FL 33761
Omaha, NE 68103-2147

                                                       North Carolina Department of Revenue
NAVAID Solutions                                       P.O. Box 25000
28210 Paseo Dr                                         Raleigh, NC 27640-0520
Suite 190
Wesley Chapel, FL 33543
                                                       North Dakota Office of State Tax Commissioner
                                                       PO Box 5621
Nebraska Department of Revenue                         Bismarck, ND 58506-5621
301 Centennial Mall South
PO Box 94818
Lincoln, NE 68509-4818                                 Ohio Department of Taxation
                                                       P.O. Box 2057
                                                       Columbus, OH 43270-2057
Nevada Department of Taxation
1550 College Parkway Suite 115
Carson City, NV 89706
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Oklahoma Department of Labor                           Rhode Island Department of Revenue - Division of
409 NE 28th Street                                     Taxation
Oklahoma City, OK 73105                                One Capitol Hill
                                                       Providence, RI 02908

Oregon Department of Revenue
955 Center St NE                                       River Capital Partners, LLC
Salem, OR 97301-2555                                   36 Airport Road Ste. 204
                                                       Lakewood, NJ 08701

Overwatch
2477 Valleydale Rd, Ste A-2                            Robert Half
Birmingham, AL 35244                                   PO Box 743295
                                                       Los Angeles, CA 90074-3295

Pennsylvania Department of Revenue
PO Box 280905                                          Ron's Remodeling
Harrisburg, PA 17128-0947                              2948 Maple Run Drive
                                                       Madison, WI 53719

Phillip Meyer
14 Mesa Rd.                                            RPA
Springfield, IL 62702                                  780 Johnson Ferry Road
                                                       Atlanta, GA 30342

Power-Comm Technologies
P.O. Box 1078                                          Rushton
Highland, CA 92346                                     P.O. Box 2917
                                                       Gainesville, GA 30503-2917

PowerLink Technologies
407 Cedar Creek                                        Safe Security Solutions
Winder, GA 30680                                       1120 Springwood Dr.
                                                       Saginaw, TX 76179

Precision Fire Protection Services
987 E 21st St; STE B                                   Sam's Club / Synchrony Bank
Yuma, AZ 85365                                         P.O. Box 530981
                                                       Atlanta, GA 30353-0981

Premier Technology Systems
Four Coins Drive                                       Shelly Electric Co. Inc.
Suite 100                                              1126 Callowhill St.
Cannonsburg, PA 15317                                  Philadelphia, PA 19123


Quality Touch Cabling                                  Sign Outlet Store
1170 Celebration Blvd. Suite100                        2200 Ogden Ave.
Celebration, FL 34747                                  Suite 350
                                                       Lisle , IL 60352

Raymond Leasing Corporation
22 South Canal Street                                  SignalNet Communications, Inc.
Greene, NY 13778                                       205 Windco Circle
                                                       Wylie, TX 75098

Reliable Relamping
6459 Nash Highway                                      Simply Surveillance
Saranac, MI 48881                                      1311 Gaston Street
                                                       Bessemer City, NC 28016
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South Carolina Department of Revenue                   Teltonika IOT Solutions USA Inc
300 Outlet Pointe Blvd                                 5000 Riverside Dr., Building 5, Suite 300
Columbia, SC 29210                                     Irving, TX 75039


South Dakota Department of Revenue                     Tennessee Department of Revenue
445 East Capitol Ave.                                  Andrew Jackson Building
Pierre, SD 57501                                       500 Deaderick St.
                                                       Knoxville, TN 37242

Spartan 7 Securities
P.O. Box 11920                                         Texas Comptroller
Conway, AR 72034                                       Lyndon B. Johnson State Office Building
                                                       111 East 17th Street
                                                       Austin, TX 78774
Spartan Communications
108 Alberta Lane
Winder, GA 30680                                       Texas Comptroller
                                                       Texas Comptroller of Public Accounts
                                                       P.O. Box 13528, Capitol Station
Star Protection Agency California                      Austin, TX 78711-3528
7901 Oakport St.
Oakland, CA 94621-2022
                                                       Texas Technology Integrators
                                                       909 Jack Brown
Suburban Electric                                      Whitehouse, TX 75791
700 N Lynndake Dr
Appleton, WI 54914
                                                       TForce Worldwide
                                                       P.O. Box 7410328
Sullivan Communications                                Chicago, IL 60674-0328
4830 Sorento Road
Sacramento, CA 95835
                                                       The Hartford
                                                       690 Asylum Avenue
Synovus Company CC                                     Hartford, CT 6155
33 West 14th Street
Columbus, GA 31901
                                                       The Stallings Group, LLC
                                                       2703 Brickton North Drive
T Mobile                                               Buford, GA 30518
P.O. Box 742596
Cincinnati, OH 45274-2596
                                                       TRC Electronics
                                                       4171 Stony Lane
TBF GRP                                                Doylestown, PA 18902
460 Faraday Avenue
Jackson, NJ 08527
                                                       Trusted Tech Team
                                                       5171 California Ave, Suite 250
Tech Know Security                                     Irvine, CA 92617
12385 W. Henry Rd
Deputy, IN 47230
                                                       United Rentals - WM
                                                       National Credit Office
Telguard                                               P.O. Box 100711
3225 Cumberland Blvd SE                                Atlanta, GA 30384-0711
Atlanta, GA 30339

                                                       United Rentals, Inc.
                                                       National Credit Office
                                                       Atlanta, GA 30384-0711
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US Small Business Association                            Woolley Trucking LLC
2 North Street                                           17281 E 350th St
Ste. 320                                                 Orion, IL 61273
Birmingham, AL 35203

                                                         Wyoming Department of Revenue
Utah State Tax Commission                                122 West 25th Street, 2nd Floor West
210 N 1950 W                                             Cheyenne, WY 82002-0110
Salt Lake City, UT 84134


Vermont Department of Taxes
133 State Street
Montpelier, VT 05633


Virginia Department of Taxation
1957 Westmoreland Street
Richmond, VA 23230


Virginia Department of Taxation
Office of Customer Services
P.O. Box 1115
Richmond, VA 23218


Virginia Electronic Components
1155 5th St SW
Charlottesville, VA 22902


Washington Department of Revenue
P.O. Box 47478
Olympia, WA 98504-7478


West Virginia State Tax Department
Taxpayer Services Division
Post Office Box 3784
Charleston, WV 25337-3784


WEX - FSA
P.O. Box 9528
Fargo, ND 58106-9528


White Electrical Construction Co
1730 Chattahoochee Ave
Atlanta, GA 30318


Willscot
4646 E Van Buren St
Phoenix, AZ 85008-6927


Wisconsin Department of Revenue
819 N. Sixth St., Room 408
Milwaukee, WI 53203-1606
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                               United States Bankruptcy Court
                                 Northern District of Georgia




         CoLiant Solutions, Inc.
In re:                                                           Case No.

                                                                 Chapter       11
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               02/12/2025                           /s/ Kenneth C. Stallings
Date:
                                                   Signature of Individual signing on behalf of debtor

                                                    President
                                                   Position or relationship to debtor
